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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        PANAMA CITY DIVISION

ZACHERY MORIN on behalf
of himself and those similarly
situated,

      Plaintiff,

v.                                               Case No. 5:23-cv-210-TKW-MJF

OUTLAW RENTALS, INC., et al.,

      Defendants.
                                           /

                       ORDER TRANSFERRING CASE

      This case is before the Court based on Plaintiff’s notice of a prior or similar

case (Doc. 7). The notice states that this case “involves issues of fact or law in

common with the issues in Stephanie C. Smith v. Outlaw Rentals, Inc., et al.” The

Smith case, Case No. 5:23-cv-00174-MW-MJF, is pending before Judge Walker,

and after consultation with Judge Walker, it was agreed that the same judge should

preside over both cases. Accordingly, pursuant to the District’s standard practice

that related cases should go to the judge with the lowest case number, it is

      ORDERED that this case is transferred to Judge Walker for all further

proceedings.
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DONE and ORDERED this 25th day of August, 2023.




                            __________________________________
                            T. KENT WETHERELL, II
                            UNITED STATES DISTRICT JUDGE




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